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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

EASTERN DIVISION
SECURITIES AND
EXCHANGE COMMISSION,
Plaintiff, Case No.: Q94CV-1775
Vv. Judge William J. Hibbler
THE NUTMEG GROUP, LLC, Magistrate Judge Ashman
RANDALL GOULDING,
DAVID GOULDING,
Defendants,

DAVID GOULDING, INC., DAVID SAMUEL, LLC,
FINANCIAL ALCHEMY, LLC, PHILLY FINANCIAL, LLC,
SAM WAYNE, and ERIC IRRGANG

Relief Defendants.

 

FINAL JUDGMENT AS TO RELIEF DEFENDANT SAM WAYNE

The Securities and Exchange Commission having filed a Complaint and Relief Defendant
Sam Wayne (“Relief Defendant”) having entered a general appearance; consented to the Court’s
jurisdiction over Relief Defendant and the subject matter of this action; consented to entry of this
Final Judgment without admitting or denying the allegations of the Complaint (except as to
jurisdiction); waived findings of fact and conclusions of law; and waived any right to appeal
from this Final Judgment:

1.
IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Relief Defendant is

hable for disgorgement of $2,880, representing profits gained as a result of the conduct alleged in

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the Compiaint, together with prejudgment interest thereon in the amount of $457, for a total of
$3,337. Rehef Defendant shall satisfy this obligation by paying $3,337 within 14 days after entry
of this Final Judgment in the name of The Nutmeg Group, LLC c/o Leslie Weiss (“Receiver”),
Barnes & Thornburg LLP, 1 North Wacker Drive, Suite 4400, Chicago, Illinois in her capacity as
receiver for The Nutmeg Group, LLC and its advisory clients, together with a cover letter
identifying Relief Defendant’s name as a defendant in this action; setting forth the title and civil
action number of this action and the name of this Court; and specifying that payment is made
pursuant to this Final Judgment. Relief Defendant shall simultaneously transmit photocopies of
such payment and letter to the Commission's counsel in this action. By making this payment,
Relief Defendant relinquishes ajl legal and equitable night, title, and interest in such funds, and

no part of the finds shall be returned to Relief Defendant. The Recetver shall deposit the funds

_ into an account in the name of The Nutmeg Group, LLC. Relief Defendant shall pay post-

judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961.
IE.

IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Relief
Defendant agrees to cooperate in Commission investigations and related enforcement actions. If
at any time following the entry of the Final Judgment the Commission obtains information
indicating that Relief Defendant knowingly provided materially false or misleading information
or materials to the Commission or in a related proceeding or fails to cooperate with the
Commission as specified in the Consent, the Commission may, at its sole discretion and without
prior notice to the Relief Defendant, petition the Court to vacate the Final Judgment and restore

this action to its active docket. In connection with any such petition and at any hearing held on
 

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such a motion: (a) Relief Defendant may not challenge the validity of the Final Judgment, this
Consent, or any related undertakings; (b) the allegations of the Complaint, solely for the purposes
of such motion, shall be accepted as and deemed true by the Court; and (c) the Court may
determine the issues raised in the motion on the basis of affidavits, declarations, excerpts of
swom deposition or investigative testimony, and documentary evidence without regard to the
standards for summary judgment contained in Rule 56(c) of the Federal Rules of Civil Procedure.
Under these circumstances, the parties may take discovery, including discovery from appropriate
hon-parties. |

Tf.

IT iS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is
incorporated herein with the same force and effect as if fully set forth herein, and that Relief
Defendant shall comply with all of the undertakings and agreements set forth therein.

IV.

IT IS FURTHER ORDERED, ADFUDGED, AND DECREED that this Court shall retain

junsdiction of this matter for the purposes of enforcing the terms of this Final Judgment,
V.
There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk 1s ordered to enter this Final Judgment forthwith and without further notice.

Ee DISTRICT JUDGE
